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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 NICHOLAS YINGLING, Derivatively on
 Behalf of Nominal Defendant REDWIRE
 CORPORATION,                                             Case No. 22-684-MN

                Plaintiff,

        v.

 PETER CANNITO, LES DANIELS,
 REGGIE BROTHERS, JOANNE ISHAM,
 KIRK KONERT, JONATHAN E. BALIFF,
 and JOHN S. BOLTON,

                Defendants,

 and

 REDWIRE CORPORATION,

                Nominal Defendant.


                         STIPULATION AND ORDER
              TRANSFERRING ACTION PURSUANT TO 28 U.S.C. § 1404(a)

       WHEREAS, plaintiff Nicholas Yingling (“Plaintiff”) filed the above-captioned

stockholder derivative action (the “Action”) on behalf of nominal defendant Redwire Corporation

(“Redwire” or the “Company”), a Delaware corporation, in this Court on May 25, 2022;

       WHEREAS, there is a related securities class action captioned Lemen v. Redwire Corp. et

al., Case No. 3:21- cv-01254-TJC-PDB currently pending in the United States District Court for

the Middle District of Florida before the Honorable Timothy J. Corrigan (“Related Securities Class

Action”) that arises from substantially the same facts as alleged in the Action;
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         WHEREAS, Redwire maintains its corporate headquarters in Jacksonville, Florida, in the

Middle District of Florida, and a majority of the witnesses and evidence in the Action and the

Related Securities Class Action are located in the Middle District of Florida;

         WHEREAS, counsel for Plaintiff and defendants in the Action (“Defendants,” together

with Plaintiff and nominal defendant Redwire, the “Parties”) have conferred in good faith and

agree that judicial and party resources will be conserved and judicial economy will be achieved by

transferring this Action to the Middle District of Florida to proceed before the Honorable Timothy

J. Corrigan who is presiding over the related Securities Class Action;

         WHEREAS, the Parties agree that deadlines in this Action, including any deadline for

defendants to respond to the amended complaint in this Action, should be vacated;

         WHEREAS, within thirty (30) days of an Order transferring this Action to the Middle

District of Florida, the Parties will meet and confer regarding further proceedings; and

         WHEREAS, this stipulation does not constitute a waiver by any Defendant of any defense

or argument, with the sole exception of arguments that the Middle District of Florida is an improper

venue.

         IT IS HEREBY STIPULATED AND AGREED by the Parties in the Action, by and

between their undersigned counsel, as follows:

         1.     The Parties consent to transfer the Action to the United States District Court for the

Middle District of Florida pursuant to 28 U.S.C. § 1404(a);

         2.     The deadlines in this Action are vacated, including any deadline for Defendants to

respond to the amended complaint; and

         3.     Within thirty (30) days of an Order transferring this Action to the Middle District of Florida,

the Parties will meet and confer regarding further proceedings.



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Dated: November 7, 2024

MCCARTER & ENGLISH LLP                       RIGRODSKY LAW, P.A.

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      SO ORDERED this 14th day of November 2024.



                                      __________________________________
                                      The Honorable Maryellen Noreika
                                      United States District Judge




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